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     Fill in this information to identify the case:

     Debtor name: Rooftop Group Singapore Ptd. Ltd.

     United States Bankruptcy Court for the:           Northern District of Texas

     Case Number (if known):               19-31443                                                                                 Check if this is an
                                                                                                                                    amended filing




    Official Form 204
    Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest
    Unsecured Claims and Are Not Insiders                                                                                                                      12/15

    A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the
    debtor disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not include
    claims by secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor among the
    holders of the 20 largest unsecured claims.
Name of creditor and complete                   Name, telephone number, and         Nature of the claim   Indicate if     Amount of unsecured claim
mailing address, including zip code             email address of creditor           (for example, trade   claim is        If the claim is fully unsecured, fill in only
                                                contact                             debts, bank loans,    contingent,     unsecured
                                                                                    professional          unliquidated,   claim amount. If claim is partially secured, fill in
                                                                                    services, and         or disputed     total claim amount and deduction for value of
                                                                                    government                            collateral or setoff to calculate unsecured claim.
                                                                                    contracts)
                                                                                                                          Total claim,    Deduction for      Unsecured
                                                                                                                          if              value of           claim
                                                                                                                          partially       collateral or
                                                                                                                          secured         setoff

     UOC SPV1 Pte. Ltd.                         Han Kuan Yuan                       Unsecured Loan        Unliquidated                                         $20,000,000.00
     80 Raffles Place                           (+) 65 6532 0245                                          Disputed
1    #26-04 UOB Plaza 1                         han.kuanyuan@uobgroup.com
     Singapore 048624


     Disney Consumer Products, Inc              Christie Yeoh                       Contract              Unliquidated                                           $7,311,610.80
     (USA)                                                                                                Disputed
2    80 Raffles Place, #26-04                   yeoh@disney.com
     UOB Plaza 1
     Singapore 048624

     Begaline Ltd                               Tan Aik Keong                       Unsecured Loan        Unliquidated                                           $7,000,000.00
     Vanterpool Plaza, 2nd Floor                (+) 65 9733 1799                                          Disputed
3    Wickams Cay 1,                             aikkeong@gmail.com
     Road Town, Tortola,
     British Virgin Islands

     Polar Ventures Overseas Limited            Alan Yamashita                      Unsecured Loan        Unliquidated                                           $4,782,242.00
     Portcullis Trustnet Chambers               (+) 852 8192 6680                                         Disputed
4    PO Box 3444                                alan.yamashita@polar-ventures.com
     Road Town, Tortola
     British Virgin Islands

     Asian Express Holdings Ltd                 Chen Chia Wen                       Contract              Unliquidated                                           $4,135,000.00
     Room 1702, Sino Centre                     (+) 8869 16835451                                         Disputed
5    582-592 Nathan Road                        phoebechen1018@gmail.com
     Mongkok, Kowloon
     Hong Kong

     Atkis Capital Advisory Ltd                 Danny Yee                           Unsecured Loan        Unliquidated                                           $3,903,896.00
     27th Floor Tesbury Centre                  (+) 852 2167 6038                                         Disputed
6    28 Queen's Road East                       danny.yee@aktiscapital.com
     Wan Chai, Hong Kong




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     Debtor       Rooftop Group International Pte. Ltd.                                Case number (if known)    19-31443
               Name




Name of creditor and complete               Name, telephone number, and         Nature of the claim   Indicate if     Amount of unsecured claim
mailing address, including zip code         email address of creditor           (for example, trade   claim is        If the claim is fully unsecured, fill in only
                                            contact                             debts, bank loans,    contingent,     unsecured
                                                                                professional          unliquidated,   claim amount. If claim is partially secured, fill in
                                                                                services, and         or disputed     total claim amount and deduction for value of
                                                                                government                            collateral or setoff to calculate unsecured claim.
                                                                                contracts)
                                                                                                                      Total claim,    Deduction for      Unsecured
                                                                                                                      if              value of           claim
                                                                                                                      partially       collateral or
                                                                                                                      secured         setoff

      Triumphant Gold Limited               Hiroyuki Mukaibo                    Unsecured Loan        Unliquidated                                           $3,903,896.00
      Offshore Incorporations (Cayman)      (+) 852 2167 6038                                         Disputed
7     Limited                               hiro.mukaibo@atkiscapital.com
      Floor 4, Willow House
      Cricket Square
      PO Box 2804
      Grand Cayman, KY1-1112
      Cayman Islands
      Chiat Thian Chew                      Chiat Thian Chew                                          Unliquidated                                           $2,400,000.00
      Portcullis Trustnet Chambers          (+) 852 5129 8800                                         Disputed
8     PO Box 3444                           thian.chew@polar-ventures.com
      Road Town, Tortola
      British Virgin Islands

      Shulian Sui                           Shulian Sui                                               Unliquidated                                           $1,932,000.00
      1-202 Building 5                      (+) 86 138 64116978                                       Disputed
9     No. 17, Xicui Road                    ss.777@163.com
      Haidian District, Beijing PRC


      Brian Dlugash / Tetro Limited         Brian Dlugash                                             Unliquidated                                           $1,000,000.00
      4B, 12 Shipyard Lane                  (+) 852 9410 2004                                         Disputed
10    Quarry Bay, Hong Kong                 bdd@wpl.com.hk



      Andre Joseph Hoffmann                 Andre Joseph Hoffman                                      Unliquidated                                           $1,000,000.00
      L'occitane (Far East) Ltd.            (+) 852 9469 3755                                         Disputed
11    Times Square, 38/F                    andre.hoffman@loccitane.com
      Tower Two
      1 Matheson Street
      Causeway Bay, Hong Kong
      Stephen Nelson                        Stephen Nelson                                            Unliquidated                                             $750,000.00
      Flat 7B                               (+) 852 9383 9848                                         Disputed
12    93 Repulse Bay Road                   steve88833@gmail.com
      Hong Kong


      Shulian Sui                           Shulian Sui                                               Unliquidated                                             $743,000.00
      1-202 Building 5                      (+) 86 138 64116978                                       Disputed
13    No. 17, Xicui Road                    ss.777@163.com
      Haidian District, Beijing PRC


      Pica Australia                        Sian Mimmo                                                Unliquidated                                             $656,195.57
      11/37 Keilor Park Dr.                 (+) 613 9337 4336                                         Disputed
14    Keilor Park                           sian@pica.com.au
      Vic 3042, Australia


      Suisuhai                              Suisuhai                                                  Unliquidated                                             $238,000.00
      1-2-1904 Dayaotiancheng               (+) 86 138 64116978                                       Disputed
15    Shanda Road                           ss.777@163.com
      Jinan City, Shandong Province




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     Debtor      Rooftop Group International Pte. Ltd.                             Case number (if known)    19-31443
               Name




Name of creditor and complete           Name, telephone number, and         Nature of the claim   Indicate if     Amount of unsecured claim
mailing address, including zip code     email address of creditor           (for example, trade   claim is        If the claim is fully unsecured, fill in only
                                        contact                             debts, bank loans,    contingent,     unsecured
                                                                            professional          unliquidated,   claim amount. If claim is partially secured, fill in
                                                                            services, and         or disputed     total claim amount and deduction for value of
                                                                            government                            collateral or setoff to calculate unsecured claim.
                                                                            contracts)
                                                                                                                  Total claim,    Deduction for      Unsecured
                                                                                                                  if              value of           claim
                                                                                                                  partially       collateral or
                                                                                                                  secured         setoff

      KMOB (Knobbe Martens Olson &      Morgan Coates                                             Unliquidated                                             $150,000.00
      Bear)                             (949) 760-9502                                            Disputed
16    2040 Main Street                  morgan.coates@knobbe.com
      14th Floor
      Irvine, CA 92614

      Duane Morris LLP                  David Feldman                       Trade Debt            Unliquidated                                              $78,000.00
      1540 Broadway                     (212) 202-6094                                            Disputed
17    New York, NY 10036                dnfeldman@duanemorris.com




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